         Case 8:11-cv-00951-DKC Document 361 Filed 09/15/17 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                  (Southern Division)


YASMIN REYAZUDDIN,

               Plaintiff,

       v.                                            Civil Action No. 8:11-cv-00951-DKC

MONTGOMERY COUNTY, MARYLAND,

               Defendant.


                                     NOTICE OF APPEAL

       Notice is hereby given that Plaintiff Yasmin Reyazuddin appeals to the United States

Court of Appeals for the Fourth Circuit from the Court’s rulings on injunctive and declaratory

relief, incorporated into the final judgment of this case, entered on August 21, 2017.

                                                     Respectfully submitted,


                                                              /s/
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        Case 8:11-cv-00951-DKC Document 361 Filed 09/15/17 Page 2 of 2




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Dated: September 15, 2017


                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 15th day of September, 2017, a copy of the foregoing

Notice of Appeal was served, by the Court’s ECF system, on:


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